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   8                     UNITED STATES DISTRICT COURT
   9
                        CENTRAL DISTRICT OF CALIFORNIA
  10

  11                               SOUTHERN DIVISION
  12

  13
                                                Case No.
  14
       JOSHUA MASTERS,
  15

  16
                      Plaintiff,

  17   v.                                       COMPLAINT
  18
       RIVERSIDE ALPHA GROUP, INC.,             DEMAND FOR JURY TRIAL
  19

  20                  Defendant
  21                                            COUNT 1: Fair Debt Collection
                                                Practices Act, 15 USC 1692 et seq.
  22

  23
                                                COUNT 2: Rosenthal Fair Debt
  24
                                                Collection Practices Act, Cal. Civ.
  25                                            Code 1788 et seq.
  26

  27                                            COUNT 3: Violations of Telephone
  28
                                                Consumer Protection Act



                                        COMPLAINT
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   1

   2

   3

   4
                                    INTRODUCTION
   5
             1.    This is an action for damages brought by Joshua Masters
   6
       (hereinafter “Plaintiff”), an individual consumer, for violations by Riverside
   7

   8   Alpha Group, Inc. (hereinafter “Defendant”) of the Rosenthal Fair Debt
   9
       Collection Practices Act, Cal Civ Code §1788, et seq. (hereinafter
  10

  11   “RFDCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C. §1692,
  12
       et seq. (hereinafter “FDCPA”), both of which prohibit debt collectors from
  13

  14
       engaging in abusive, deceptive, and unfair practices. Ancillary to the

  15   claims above, Plaintiff further alleges claims for Defendant’s violations of
  16
       the Telephone Consumer Protection Act., 47 U.S.C. §227, et seq,
  17

  18   (hereinafter “TCPA”).
  19
             2.    In Calif. Civil Code § 1788.1 (a)-(b), the California Legislature
  20

  21   made the following findings and purpose in creating the Rosenthal Act:
  22

  23
                    (1) The banking and credit system and grantors of credit to

  24
                   consumers are dependent upon the collection of just and owing

  25
                   debts. Unfair or deceptive collection practices undermine the

  26
                   public confidence which is essential to the continued

  27
                   functioning of the banking and credit system and sound

  28
                   extensions of credit to consumers.



                                          COMPLAINT
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   1

   2              (2) There is need to ensure that debt collectors and debtors
   3              exercise their responsibilities to another with fairness and
   4              honesty and due regard for the rights of the other.
   5              It is the purpose of this title to prohibit debt collectors from
   6              engaging in unfair or deceptive acts of practices in the
   7              collection of consumer debts and to require debtors to act fairly
   8              in entering into and honoring such debts, as specified in this
   9              title.
  10

  11        3.    In 15 U.S.C. 1692, the United States Congress made the
  12
       following findings and purpose in creating the Fair Debt Collection
  13

  14   Practices Act:
  15

  16              (a) There is abundant evidence of the use of abusive,
  17              deceptive, and unfair debt collection practices by many debt
  18              collectors. Abusive debt collection practices contribute to the
  19              number of personal bankruptcies, to marital instability, to the
  20              loss of jobs, and to invasions of individual privacy. …
  21

  22              (e) It is the purpose of this title to eliminate abusive debt
  23              collection practices by debt collectors, to insure that those debt
  24              collectors who refrain from using abusive debt collection
  25              practices are not competitively disadvantaged, and to promote
  26              consistent State action to protect consumers against debt
  27              collection abuses.
  28




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   1         4.     Plaintiff makes the allegations below on information and belief,
   2
       with the exception of those allegations that pertain to a plaintiff, or to a
   3

   4
       plaintiff’s counsel, which Plaintiff alleges on personal knowledge.

   5         5.     While many violations are described below with specificity, this
   6
       Complaint alleges violations of the statutes cited in their entirety.
   7

   8

   9
                               JURISDICTION & VENUE
  10

  11         6.     Jurisdiction of this Court arises under 28 U.S.C. § 1331, 15
  12
       U.S.C. § 1692k(d), 47 U.S.C. § 227, and pursuant to 28 U.S.C. § 1367 for
  13

  14
       pendent state law claims, which are predicated upon the same facts and

  15   circumstances that give rise to the federal causes of action. Injunctive
  16
       relief is available pursuant to the TCPA.
  17

  18         7.     This action arises out of Defendant’s repeated violations of the
  19
       Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”),
  20

  21   the Rosenthal Fair Debt Collection Practices Act, CAL CIV CODE § 1788
  22
       et. seq., (“RFDCPA”), and the Telephone Consumer Protection Act, 47
  23
       U.S.C. §227 (“TCPA”), in their illegal efforts to collect a consumer debt.
  24

  25         8.     Venue is proper in this District because the Defendant may be
  26
       found in this District, and some of the acts and transactions occurred in
  27

  28   this District.



                                           COMPLAINT
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   1                           PARTIES & DEFINITIONS
   2
             9.    Plaintiff, Joshua Masters, is a natural person residing in
   3

   4   Orange County in the state of California.
   5
             10.   Plaintiff, as a natural person allegedly obligated to pay a
   6

   7
       consumer debt to Defendant, alleged to have been due and owing, is

   8   therefore both a “consumer” as that term is defined by 15 U.S.C. §
   9
       1692a(3) of the FDCPA, and is also therefore a “debtor” as that term is
  10

  11   defined by California Civil Code § 1788.2(h) of the Rosenthal Act.
  12
             11.   At all relevant times herein, Defendant, Riverside Alpha Group,
  13

  14   Inc., was a company engaged, by use of the mails and telephone, in the
  15
       business of collecting a debt from Plaintiff which qualifies as a “debt,” as
  16
       defined by 15 U.S.C. §1692a(5), and a “consumer debt,” as defined by Cal
  17

  18   Civ Code § 1788.2(f).
  19
             12.   Defendant is a debt collection company that continuously and
  20

  21   systematically engages in its business of collecting debts in the state of
  22
       California, and using telephone numbers within California. Defendant is a
  23

  24
       “debt collector” as that term is defined by 15 U.S.C. § 1692a(6) and Cal.

  25   Civ. Code § 1788.2(c).
  26

  27

  28




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   1         13.   Defendant maintains a registered agent, Luis Vasquez, and
   2
       may be served through their registered agent at 1820 E. Garry Ave, Ste
   3

   4
       108, Santa Ana, CA 92705.

   5         14.   Upon information and belief, Defendant was attempting to
   6
       collect on a debt that originated from monetary credit that was extended
   7

   8   primarily for personal, family, or household purposes, and was therefore a
   9
       “consumer credit transaction” within the meaning of Calif. Civil Code §
  10

  11   1788.2(e) of the Rosenthal Act, as well as a “debt” as that term is defined
  12
       by 15 U.S.C. § 1692a(5).
  13
             15.   Because Plaintiff is a natural person allegedly obligated to pay
  14

  15   money to Defendants arising from what Plaintiff is informed and believes
  16
       was a consumer credit transaction, the money allegedly owed was a
  17

  18   “consumer debt" within the meaning of California Civil Code § 1788.2(f) of
  19
       the Rosenthal Act.
  20

  21
             16.   Plaintiff is informed and believes that Defendant is one who

  22   regularly collects or attempts to collect debts on behalf of themselves or
  23
       others, and is therefore a “debt collector” within the meaning of Calif. Civil
  24

  25   Code § 1788.2(c) of the Rosenthal Act, and thereby engages in “debt
  26
       collection” within the meaning of California Civil Code § 1788.2(b) of the
  27

  28




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   1   Rosenthal Act, and is also therefore a “person" within the meaning of
   2
       California Civil Code § 1788.2(g) of the Rosenthal Act.
   3

   4
             17.   Defendant uses an “automatic telephone dialing system” as

   5   defined by the TCPA, 47 U.S.C. §227.
   6

   7

   8                         FACTUAL ALLEGATIONS
   9
             18.   At various and multiple times prior to the filing of this complaint,
  10

  11   including within the one year preceding the filing of this complaint,
  12
       Defendant contacted Plaintiff in an attempt to collect an alleged
  13

  14
       outstanding debt.

  15         19.   On or about May, 2015, Defendant called Plaintiff on Plaintiff’s
  16
       cell phone regarding the alleged debt owed. During the call, an employee
  17

  18   or agent of Defendant named Michael Carmello demanded payment on
  19
       the alleged debt, provided a reference file number of 2482712, demanded
  20

  21   that Plaintiff call them back immediately that same day, and advised that
  22
       they were collecting on a $6,000.00 debt from Kay Jewelers from 2008.
  23
             20.   In response to the May 2015 call, Plaintiff advised Defendant
  24

  25   that he disputed the alleged debt owed, that he revoked any consent to
  26
       contact by Defendant, that he was to never be called again by Defendant
  27

  28   or anyone affiliated with Defendant any way ever again.



                                          COMPLAINT
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   1         21.   On or about August 18, 2015, Defendant called again called
   2
       Plaintiff on Plaintiff’s cell phone and left a recorded message regarding the
   3

   4
       alleged debt owed. In the recorded message, an employee or agent of

   5   Defendant named Robert demanded payment on the alleged debt,
   6
       provided a reference file number of 2482712, demanded that Plaintiff call
   7

   8   them back immediately that same day, advising that they were suing
   9
       Plaintiff on a $6,000.00 debt from Kay Jewelers from 2008, that there was
  10

  11   a scheduled court date on the matter, and indicating that if Plaintiff did not
  12
       call them back the same day they would continue with the court case
  13
       against him.
  14

  15         22.   In response to the August 18, 2015 call, Plaintiff called
  16
       Defendant and again advised Defendant that he disputed the alleged debt
  17

  18   owed, that he revoked any consent to contact by Defendant, and that he
  19
       was to never be called again by Defendant or anyone affiliated with
  20

  21
       Defendant any way. During this call, Plaintiff also advised that he was

  22   represented by an attorney, Ms. Antoinette Balta of the Veterans Legal
  23
       Institute, provided Defendant with Ms. Balta’s contact details to include her
  24

  25   phone number, and indicated that all future communication should be
  26
       directed to his attorney.
  27

  28




                                          COMPLAINT
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   1         23.   Defendant responded to Plaintiff’s request that all contact be
   2
       through his attorney by stating that he would continue his demands directly
   3

   4
       to Plaintiff, he would not communicate with Plaintiff’s attorney, and further

   5   added that “America is a free country, and I’ll talk with whoever I want”.
   6
       Defendant ended the call by advising Plaintiff that Defendant was suing
   7

   8   him, there was a scheduled court date, and they would continue pursuing
   9
       the case unless it was settled promptly.
  10

  11         24.   On or about August 18, 2015, Plaintiff’s attorney, Ms.
  12
       Antoinette Balta of the Veterans Legal Institute, called Defendant
  13
       regarding the alleged debt owed. Ms. Balta advised that she was
  14

  15   representing the Plaintiff, and that all communication needed to be through
  16
       her. In response to Ms. Balta’s request that all communication from
  17

  18   Defendant be restricted to her, Defendant stated that they would continue
  19
       their direct contact with the Plaintiff, and again added that “America is a
  20

  21
       free country, and [they’ll] speak to whoever [they] want.”

  22         25.   During the call on August 18, 2015, between Ms. Balta and
  23
       Defendant, Plaintiff’s attorney requested meaningful information
  24

  25   concerning the identity of the Defendant, specifically, their address.
  26
       Defendant refused to provide meaningful information concerning their
  27

  28




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    1   identity, and would only provide a mailing address for payment to be made
    2
        on the alleged debt.
    3

    4
              26.   On 14 October 2015, at 10:34 A.M., Defendant called again

    5   called Plaintiff on Plaintiff’s cell phone and left a recorded message
    6
        regarding the alleged debt owed.
    7

    8         27.   During no phone contact between Defendant and Plaintiff, or
    9
        Defendant and Plaintiff’s attorney, was the disclosure provided by
   10

   11   Defendant that the communication was an attempt to collect a debt, and
   12
        any information gained would be used for that purpose.
   13
              28.   No written communication has ever been received by Plaintiff
   14

   15   or Plaintiff’s attorney concerning the alleged debt from Defendant.
   16
              29.   On information and belief, no written communication has ever
   17

   18   been sent by the Defendant to Plaintiff or Plaintiff’s attorney.
   19
              30.   The alleged debt is far past the statute of limitations for suit on
   20

   21
        an account, and Defendant cannot lawfully bring a civil lawsuit to collect on

   22   the alleged debt.
   23
              31.   No lawsuit has ever been filed by Defendant against Plaintiff on
   24

   25   the alleged debt, and Defendant’s statements that a suit had been filed,
   26
        that there was a pending court case, and that there was a scheduled court
   27

   28




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    1   date related to the alleged debt was utterly and completely false and
    2
        untrue.
    3

    4
              32.   Defendant called Plaintiff concerning the alleged debt with

    5   such frequency and regularity that it constitutes harassment under the
    6
        circumstances.
    7

    8         33.   On information and belief, Defendant used an “automatic
    9
        telephone dialing system”, as defined by 47 US.C. § 227(a)(1), to place its
   10

   11   repeated collection calls to Plaintiff seeking to collect the debt allegedly
   12
        owed.
   13
              34.   Defendant’s calls constituted calls that were not for emergency
   14

   15   purposes as defined by 47 US.C § 227(b)(1)(A).
   16
              35.   Defendant’s calls were placed to telephone number assigned
   17

   18   to a cellular telephone service for which Plaintiff incurred a charge for
   19
        incoming calls pursuant to 47 U.S.C. §227(b)(1).
   20

   21
              36.   All or some of the voice messages made by Defendant to

   22   Plaintiff utilized a recording or “artificial or prerecorded voice” as defined by
   23
        47 U.S.C. § 227(b)(1)(A).
   24

   25         37.   At the time of Defendant’s offending call(s) on August 18,
   26
        2015, Plaintiff had directly revoked any and all consent to be contacted by
   27

   28




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                                               11
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    1   Defendant, including, but not limited to, calls using an automated
    2
        telephone dialing system.
    3

    4
              38.   Defendant’s conduct violated the FDCPA and the RFDCPA in

    5   multiple ways, including but not limited to:
    6
                 a. FDCPA § 1692c(a)(2)- Without the prior consent of the
    7

    8               consumer given directly to the debt collector or the express
    9
                    permission of a court of competent jurisdiction, a debt collector
   10

   11               may not communicate with a consumer in connection with the
   12
                    collection of any debt if the debt collector knows the consumer
   13
                    is represented by an attorney with respect to such debt and
   14

   15               has knowledge of, or can readily ascertain, such attorney's
   16
                    name and address, unless the attorney fails to respond within a
   17

   18               reasonable period of time to a communication from the debt
   19
                    collector or unless the attorney consents to direct
   20

   21
                    communication with the consumer;

   22            b. FDCPA § 1692c(c)- If a consumer notifies a debt collector in
   23
                    writing that the consumer refuses to pay a debt or that the
   24

   25               consumer wishes the debt collector to cease further
   26
                    communication with the consumer, the debt collector shall not
   27

   28




                                           COMPLAINT
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    1              communicate further with the consumer with respect to such
    2
                   debt;
    3

    4
                c. FDCPA § 1692d(6)- A debt collector may not engage in any

    5              conduct the natural consequence of which is to harass,
    6
                   oppress, or abuse any person in connection with the collection
    7

    8              of a debt. Without limiting the general application of the
    9
                   foregoing, the following conduct is a violation of this section:
   10

   11              Except as provided in section 1692b of this title, the placement
   12
                   of telephone calls without meaningful disclosure of the caller's
   13
                   identity.
   14

   15           d. FDCPA § 1692e(2)(A)- A debt collector may not use any false,
   16
                   deceptive, or misleading representation or means in
   17

   18              connection with the collection of any debt. Without limiting the
   19
                   general application of the foregoing, the following conduct is a
   20

   21
                   violation of this section: The false representation of the

   22              character, amount, or legal status of any debt; or
   23
                e. FDCPA § 1692e(5)- A debt collector may not use any false,
   24

   25              deceptive, or misleading representation or means in
   26
                   connection with the collection of any debt. Without limiting the
   27

   28
                   general application of the foregoing, the following conduct is a



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    1              violation of this section: The threat to take any action that
    2
                   cannot legally be taken or that is not intended to be taken.
    3

    4
                f. FDCPA § 1692e(10)- A debt collector may not use any false,

    5              deceptive, or misleading representation or means in
    6
                   connection with the collection of any debt. Without limiting the
    7

    8              general application of the foregoing, the following conduct is a
    9
                   violation of this section: the use of a false representation or
   10

   11              deceptive means to collect or attempt to collect any debt or to
   12
                   obtain information concerning a consumer.
   13
                g. FDCPA § 1692e(11)- A debt collector may not use any false,
   14

   15              deceptive, or misleading representation or means in
   16
                   connection with the collection of any debt. Without limiting the
   17

   18              general application of the foregoing, the following conduct is a
   19
                   violation of this section: the failure to disclose in the initial
   20

   21
                   written communication with the consumer and, in addition, if

   22              the initial communication with the consumer is oral, in that
   23
                   initial oral communication, that the debt collector is attempting
   24

   25              to collect a debt and that any information obtained will be used
   26
                   for that purpose, and the failure to disclose in subsequent
   27

   28
                   communications that the communication is from a debt



                                           COMPLAINT
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    1              collector, except that this paragraph shall not apply to a formal
    2
                   pleading made in connection with a legal action.
    3

    4
                h. FDCPA § 1692g(a)(l)- Within five days after the initial

    5              communication with a consumer in connection with the
    6
                   collection of any debt, a debt collector shall, unless the
    7

    8              following information is contained in the initial communication
    9
                   or the consumer has paid the debt, send the consumer a
   10

   11              written notice containing the amount of the debt;
   12
                i. FDCPA § I692g(a)(2)- Within five days after the initial
   13
                   communication with a consumer in connection with the
   14

   15              collection of any debt, a debt collector shall, unless the
   16
                   following information is contained in the initial communication
   17

   18              or the consumer has paid the debt, send the consumer a
   19
                   written notice containing the name of the creditor to whom the
   20

   21
                   debt is owed;

   22           j. FDCPA § I692g(a)(3)- Within five days after the initial
   23
                   communication with a consumer in connection with the
   24

   25              collection of any debt, a debt collector shall, unless the
   26
                   following information is contained in the initial communication
   27

   28
                   or the consumer has paid the debt, send the consumer a



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    1              written notice containing a statement that unless the consumer,
    2
                   within thirty days after receipt of the notice, disputes the validity
    3

    4
                   of the debt, or any portion thereof, the debt will be assumed to

    5              be valid by the debt collector;
    6
                k. FDCPA § 1692g(a)(4)- Within five days after the initial
    7

    8              communication with a consumer in connection with the
    9
                   collection of any debt, a debt collector shall, unless the
   10

   11              following information is contained in the initial communication
   12
                   or the consumer has paid the debt, send the consumer a
   13
                   written notice containing a statement that if the consumer
   14

   15              notifies the debt collector in writing within the thirty-day period
   16
                   that the debt, or any portion thereof, is disputed, the debt
   17

   18              collector will obtain verification of the debt or a copy of a
   19
                   judgment against the consumer and a copy of such verification
   20

   21
                   or judgment will be mailed to the consumer by the debt

   22              collector; and
   23
                l. FDCPA § 1692g(a)(5)- Within five days after the initial
   24

   25              communication with a consumer in connection with the
   26
                   collection of any debt, a debt collector shall, unless the
   27

   28
                   following information is contained in the initial communication



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    1              or the consumer has paid the debt, send the consumer a
    2
                   written notice containing a statement that, upon the consumer's
    3

    4
                   written request within the thirty-day period, the debt collector

    5              will provide the consumer with the name and address of the
    6
                   original creditor, if different from the current creditor.
    7

    8           m. FDCPA § 1692g(b)- If the consumer notifies the debt collector
    9
                   in writing within the thirty-day period described in subsection
   10

   11              (a) of this section that the debt, or any portion thereof, is
   12
                   disputed, or that (he consumer requests the name and address
   13
                   of the original creditor, the debt collector shall cease collection
   14

   15              of the debt, or any disputed portion thereof, until the debt
   16
                   collector obtains verification of the debt or a copy of a
   17

   18              judgment, or the name and address of the original creditor, and
   19
                   a copy of such verification or judgment, or name and address
   20

   21
                   of the original creditor, is mailed to the consumer by the debt

   22              collector.
   23
                n. Communicating, by telephone or in person, with Plaintiff with
   24

   25              such frequency as to be unreasonable and to constitute a
   26
                   harassment to Plaintiff under the circumstances (Cal Civ Code
   27

   28
                   §1788.11(e)).



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    1         39.    Defendant’s conduct violated the TCPA by using any automatic
    2
        telephone dialing system or an artificial or prerecorded voice to any
    3

    4
        telephone number assigned to a paging service, cellular telephone service,

    5   specialized mobile radio service, or other radio common carrier service, or
    6
        any service for which the called party is charged for the call (47 USC
    7

    8   §227(b)(A)(iii)).
    9
              40.    As a result of the above violations of the FDCPA, RFDCPA,
   10

   11   and TCPA, Plaintiff suffered and continues to suffer injury to Plaintiffs
   12
        feelings, personal humiliation, embarrassment, mental anguish and
   13
        emotional distress. Plaintiff attempted to seek counseling and therapy for
   14

   15   the emotional distress and mental anguish described above but was not
   16
        able to.
   17

   18         41.    Defendant is liable to Plaintiff for Plaintiffs actual damages,
   19
        statutory damages, and costs and attorney’s fees.
   20

   21

   22                             CAUSES OF ACTION
   23

   24                                      COUNT I:
   25         VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT
   26
              42.    Plaintiff reincorporates by reference all of the preceding
   27

   28   paragraphs.



                                            COMPLAINT
                                                18
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    1        43.   The foregoing acts and omissions of Defendant and its agents
    2
        constitute numerous and multiple violations of the FDCPA including, but
    3

    4
        not limited to, each and every one of the above-cited provisions of the

    5   FDCPA, 15 U.S.C. § 1692 et seq., with respect to Plaintiff.
    6
             44.   To the extent that Defendant’s actions, counted above, violated
    7

    8   the FDCPA, those actions were done knowingly and willfully.
    9
             45.   As a result of Defendant violations of the FDCPA, Plaintiff is
   10

   11   entitled to actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory
   12
        damages in an amount up to $1,000.00 pursuant to 15 U.S.C. §
   13
        1692k(a)(2)(A); and, reasonable attorney’s fees and costs pursuant to 15
   14

   15   U.S.C. § 1692k(a)(3), from Defendant.
   16

   17
                                        COUNT II:
   18
         VIOLATION OF ROSENTHAL FAIR DEBT COLLECTION PRACTICES
   19
                                           ACT
   20

   21
             46.   Plaintiff reincorporates by reference all of the preceding
   22
        paragraphs.
   23

   24        47.   To the extent that the Defendant’s actions, counted above,
   25
        violated the FDCPA, they are necessarily violations of the California
   26

   27   Rosenthal Act via Calif. Civ. Code 1788.17.
   28




                                          COMPLAINT
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    1        48.      Defendant’s conduct as described herein violated the RFDCPA
    2
        § 1788.17 which mandates that every debt collection collecting or
    3

    4
        attempting to collect a consumer debt shall comply with the provisions of

    5   Sections 1692d to 1692j, and shall be subject to the remedies in Section
    6
        1692k of Title 15 of the United States Code statutory regulations contained
    7

    8   within the FDCPA, 15 U.S.C. § 1692d and § 1692d(5).
    9
             49.      As a result of the Defendant’s illegal conduct, Plaintiff has
   10

   11   suffered emotional distress and mental anguish.
   12
             50.      Defendant is liable to Plaintiff for actual damages, statutory
   13
        damages, punitive damages (if the evidence at trial so warrants), actual
   14

   15   costs, and attorneys’ fees, under the RFDCPA.
   16

   17
                                           COUNT III:
   18
             VIOLATION OF TELEPHONE CONSUMER PROTECTION ACT
   19

   20        51.      Plaintiff incorporates by reference all of the preceding
   21
        paragraphs.
   22

   23        52.      The foregoing acts and omissions of Defendant constitute
   24
        numerous and multiple negligent violations of the TCPA, including but not
   25

   26   limited to each and every one of the above cited provisions of 47 U.S.C. §
   27
        227 et seq.
   28




                                             COMPLAINT
                                                20
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    1         53.   As a result of Defendant’s negligent violations of 47 U.S.C. §
    2
        227 et seq.. Plaintiff is entitled an award of $500.00 in statutory damages,
    3

    4
        for each and every violation, pursuant to 47 U.S.C § 227(b)(3)(B).

    5         54.   The foregoing acts and omissions of Defendant constitute
    6
        numerous and multiple knowing and/or willful violations of the TCPA,
    7

    8   including but not limited to each and every one of the above cited
    9
        provisions of 47 U.S.C. §227 et seq.
   10

   11         55.   As a result of Defendant’s knowing and/or willful violations of
   12
        47 U.S.C. § 227 et seq.. Plaintiff is entitled an award of $1,500.00 in
   13
        statutory damages, for each and every violation, pursuant to 47 U.S.C. §
   14

   15   227(b)(3)(B) and 47 U.S.C § 227(b)(3)(C).
   16
              56.   Plaintiff is entitled to and seek injunctive relief prohibiting such
   17

   18   conduct in the future.
   19
              57.   Because of the Defendant’s violations of the TCPA, Plaintiff is
   20

   21
        entitled to an award against Defendant as follows:

   22            a. As a result of Defendant’s negligent violations of 47 U.S.C.
   23
                    §227(b)(1), Plaintiff is entitled to recover from Defendant $500
   24

   25               in statutory damages, for each and every violation, pursuant to
   26
                    47 U.S.C, 227(b)(3)(B);
   27

   28




                                           COMPLAINT
                                               21
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    1           b. As a result of Defendant’s willful and/or knowing violations of
    2
                   47 U.S.C. §227(b)(1). Plaintiff is entitled to recover from
    3

    4
                   Defendant treble damages, as provided by statute, up to

    5              $1,500, for each and every violation, pursuant to 47 U.S.C.
    6
                   §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
    7

    8

    9
                                   PRAYER FOR RELIEF
   10

   11        WHEREFORE, Plaintiff respectfully prays that judgment be entered
   12
        against the Defendant as follows:
   13

   14

   15
                                           COUNT 1:
   16                       Fair Debt Collection Practices Act
   17
                   a) for an award of actual damages pursuant to 15 U.S.C. §
   18

   19                 1692k(a)(1) against Defendant and for Plaintiff;
   20
                   b) for an award of statutory damages of $1,000.00 pursuant to
   21
                      15 U.S.C. §1692k(a)(2)(A) against Defendant and for
   22

   23                 Plaintiff;
   24
                   c) for an award of costs of litigation and reasonable attorney’s
   25

   26                 fees pursuant to 15 U.S.C. § 1692k(a)(3) against Defendant
   27
                      and for Plaintiff;
   28




                                           COMPLAINT
                                              22
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    1              d) and such further relief as the Court deems just and proper.
    2

    3
                                       COUNT 2:
    4
                     Rosenthal Fair Debt Collection Practices Act
    5

    6              a) For an award in favor of Plaintiff and against Defendant
    7
                      pursuant to the RFDCPA for Plaintiff’s actual damages in an
    8

    9                 amount according to proof;
   10
                   b) For an award of statutory damages for willful and negligent
   11

   12
                      violations of the RFDCPA in an amount not less than

   13                 $1,000.00;
   14
                   c) For an award of Plaintiff’s costs incurred in this litigation
   15

   16                 pursuant to the RFDCPA;
   17
                   d) For an award of Plaintiff’s reasonable attorney’s fees
   18

   19
                      pursuant to the RFDCPA;
   20              e) And such further relief as the Court deems just and proper.
   21

   22

   23

   24                                  COUNT 3:
   25                    Telephone Consumer Protection Act
   26

   27
                   a) For an award of Plaintiff’s actual damages in an amount

   28                 according to proof;


                                            COMPLAINT
                                               23
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    1              b) For an award of statutory damages of $500.00 for each and
    2
                      every negligent violation of the TCPA provisions of 47
    3

    4
                      U.S.C. §227(b)(1);

    5              c) For an award of statutory damages of $1,500.00 for each
    6
                      and every willful or intentional violation of the TCPA
    7

    8                 provisions of 47 U.S.C. §227(b)(1);
    9
                   d) and such further relief as the Court deems just and proper.
   10

   11

   12

   13   Dated this 16 November 2015.
   14
                                                M Jones and Associates, PC
   15
                                                Attorneys for Plaintiff
   16

   17

   18
                                                Michael Jones
   19

   20

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                                           COMPLAINT
                                              24
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    1                                 JURY DEMAND
    2

    3   Pursuant to the Seventh Amendment to the Constitution of the United
    4   States of America, and Fed.R.Civ.P. 38, Plaintiff is entitled to, and
    5   demands, a trial by jury.
    6

    7

    8   Dated this 16 November 2015.
    9

   10
                                                M Jones and Associates, PC
   11
                                                Attorneys for Plaintiff
   12

   13

   14
                                                Michael Jones
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                                           COMPLAINT
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    1                   VERIFICATION OF COMPLAINT AND CERTIFICATION

    2

    3         STATE OF CALIFORNIA                     )
                                                      )
    4
              COUNTY OF ORANGE                        )
    5
              Pursuant to 28 U.S.C. § 1746, Plaintiff Joshua Masters, having first
    6

    7
        been duly sworn and upon oath, verifies, certifies, and declares as follows:

    8

    9   1.     I am a Plaintiff in this civil proceeding.
   10   2.     I have read the above-entitled civil Complaint prepared by my
   11          attorneys and I believe that all of the facts contained in it are true, to
   12          the best of my knowledge, information and belief formed after
   13          reasonable inquiry.
   14   3.     I believe that this civil Complaint is well grounded in fact and
   15
               warranted by existing law or by a good faith argument for the
   16
               extension, modification, or reversal of existing law.
   17
        4.     I believe that this civil Complaint is not interposed for any improper
   18
               purpose, such as to harass any Defendant(s), cause unnecessary
   19
               delay to any Defendant(s), or create a needless increase in the cost
   20
               of litigation to any Defendant(s), named in the Complaint.
   21
        5.     I have filed this civil Complaint in good faith and solely for the
   22
               purposes set forth in it.
   23

   24
        6.     Each and every exhibit I have provided to my attorneys, copies of

   25
               which may be attached to this Complaint, is a true and correct copy of

   26          the original.
   27   7.     Except for clearly indicated redactions made by my attorneys where
   28          appropriate, I have not altered, changed, modified, or fabricated any



                                             COMPLAINT
                                                 26
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